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                        UNITED STATED DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

EDUARDO GUDINO, et al.,                       )
                                              )
                       Plaintiffs,            )
                                              )
               v.                             )       No. 02 C 6248
                                              )
TOWN OF CICERO, et al.,                       )
                                              )
                       Defendants.            )

 RESPONSE OF PLAINTIFFS EDUARDO GUDINO AND OBDULIA PERALTA
 TO THE INDIVIDUAL DEFENDANTS’ STATEMENT OF MATERIAL FACTS

       The Plaintiffs, Obdulia Peralta, and Eduardo Gudino, by their attorney, Peter V.

Bustamante, pursuant to Rule 56 of the Rules of Civil Procedure and Rule 56.1(b)(3) of

the General Rules of the United States District Court for the Northern District of Illinois,

respond to the Individual Defendants’ Statement of Uncontested Facts submitted in

support of the Individual Defendants’ Motion for Summary Judgment:

            RESPONSE TO INDIVIDUAL DEFENDANTS’ STATEMENT

       1.      Plaintiffs Gudino and Peralta adopt and incorporate by reference the

Duran Plaintiffs’ answer to the Local Rule 56.1 Statement filed in Duran v. Town of

Cicero, 01 C 6858.

       2.      Admitted.

       3.      Admitted.

       4.      Admitted.

       5.      Admitted in part. The officers told Ms. Peralta and her guests “not to be

watching” what was going on at the Duran home across the street. The officers told Ms.

Peralta and her guests they would arrest them or bring dogs, if they did not go inside Ms.



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Peralta’s house. (Peralta Dep. at 12). These officers swore at Ms. Peralta and her guests.

(Peralta Dep. at 38). When the officer pushed Ms. Peralta and her guests, he pushed

someone into Ms. Peralta, knocking her into a protruding nail on the brick wall of her

home. (1st Am. Compl. par. 27; Peralta Dep. at 16, 17-18, 46,).

         6.     Admitted in part. Ms. Peralta stated that Sgt Krummick was in the street,

but Ms. Peralta was standing in front of her home, which is very close to the street.

(Peralta Affidavit). Sgt. Krummick was close enough to stop the other officer’s actions.

(Id.).

         7.     Admitted in part. On September 2, 2000, Mr. Gudino lived about three

doors down from the Duran residence, but, across the street from the Duran residence.

(Gudino Dep. at 10).

         8.     Admitted.

         9.     Admitted in part. Mr. Gudino came outside his home to video-record

what the Cicero police officers were doing at the Duran home; however, Mr. Gudino was

not on the Duran premises. (Gudino Dep. at 18-19).

         10. Admitted in part. Mr. Gudino testified that two policemen stopped him and

told him his camera was confiscated. (Gudino Dep. at 19). Mr. Gudino further testified

that two policemen punched him, and one of those two officers was Officer DeCianni.

(Gudino Dep. at 19-20, 25-26). Mr. Gudino also testified that Officer DeCianni seized

his video camera. (Gudino Dep. at 25-26).




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ADDITIONAL FACTS REQUIRING DENIAL OF SUMMARY JUDGMENT

Background

        1.      On Saturday, September 2, 2000, Alejandro Duran, and his wife, Maria,

were celebrating the baptism of Jacquelin Duran, the daughter of Gonzalo Duran, with

family and friends at 1322 South 51st Avenue, in Cicero, Illinois. (Duran Dep. at 112).

There were many women and children at this party. (Cruz Dep. 02 C 6248 at 26).

        2.      In front of the Duran home was a chain-link fence about four feet high.

(Pineda Dep. at 45).

        3.      Ruben Pineda, a guest at the Duran party, arrived at the Duran home at

about 5:30 or 6:00 p.m. that evening. (Pineda Dep. at 18). At that time, there were

approximately 50-70 people there. (Id. at 27). Many of these people were the Duran’s

relatives. (Id. at 27-29).

        4.      Mr. Eduardo Gudino lives across the street from the Duran home.

(Gudino Dep. at 9-10). Ms. Obdulia Peralta also lives across the street from the Duran

home. (Peralta Dep. at 29). Mr. Onofre Barajas also lives across the street from the

Duran home. (Barajas Dep. at 6).

        5.      Mr. Gudino and Ms. Peralta were not guests at the Duran premises on

September 2, 2002. Neither Mr. Gudino nor Ms. Peralta were on the Duran premises that

night. (Krummick Dep. 02 C 6248 at 56, 58; Peralta Dep. at 29-31, 34; Gudino Dep. at 8,

9, 11, 18).

        6.      On September 2, 2000, Ms. Peralta had a party at her home; she had

approximately 15 guests. (Peralta Dep. at 18). Ms. Peralta’s home is very close to the

street; she does not have a front yard. (Peralta Affidavit).




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       7.      At approximately 9:45 p.m. on that evening, Mr. Barajas was sitting on the

steps of his front porch. (Barajas Dep. at 6).

What Cicero Police Officers are Required to Do

       8.      Cicero police officers are not permitted to direct profanity, or swear at,

civilians. (Krummick Dep. 01 C 6858 at 43-44). They are also required to report the

misconduct of fellow officers. (Krummick Dep. 01 C 6858 at 44). Cicero police officers

would have no legal reason to enter the Duran home. (McMahon Dep. at 33). Police

officers are never to use “choke holds” on persons. (DeCianni Dep. 01 C 6858 at 30).

Officer DeCianni testified that he would have no legal reason to take someone’s video

camera. (DeCianni Dep. 02 C 6248 at 37).

The First Time Cicero Police Officers Came to the Duran Home

       9.      The police came to the Duran home twice that evening. The first time

Cicero Police officers came to the Duran home, Officers DeCianni and Cruz were

dispatched to the Duran home. (Cruz Dep. 02 C 6248 at 2).

       10.     Officer Cruz went through the alley to the back of the Duran home. (Cruz

Dep. 02 C 6248 at 16). Officers Cruz and DeCianni saw women and children in the back

of the Duran home. (Cruz Dep. 02 C 6248 at 26; DeCianni Dep. 01 C 6858 at 2). Officer

Cruz spoke to a Hispanic man in the garage of the Duran home and said he wanted to talk

to the owner. He told this man to have the music lowered and cars moved out of the

alley. (Cruz Dep. 02 C 6248 at 19).

       11.     The music was lowered and cars were moved. (Cruz Dep. 02 C 6248 at

19). Officer Cruz told Officer DeCianni that the people at the Duran home did




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everything the officers asked of them and “we can get out of here.” (Cruz Dep. 02 C

6248 at 24).

The Second Time the Police Came to the Duran Home

       What Ms. Peralta and Mr. Gudino Saw in Front of the Duran Home

       12.     Mr. Gudino was on the second floor of his house, when he heard a police

siren. (Gudino Dep. at 10). He looked out the window and saw Cicero police cars pull

up to the Duran residence. (Gudino Dep. at 9-10).

       13.     While he was sitting on the front steps to his house, Mr. Barajas saw

Cicero police cars pull up in front of the Duran home. (Barajas Dep. at 6).

       14.     When the police cars arrived, the people in front of the Duran home were

mostly children playing. (Pineda Dep. at 44). At that time, Mr. Pineda was standing in

front of the Duran home. (Pineda Dep. at 48-50).

       15.     Officers DeCianni and McMahon told the people that were in the Duran

front yard that there were there again for loud music. (Gross Dep. at 19).

       16.     When they entered the Duran premises, the officers were angry. (Pineda

Dep. at 54). One of the officers was carrying a stick, and he was hitting something, like a

wire, with the stick, while he was talking. (Gudino Dep. at 9-10).

       17.     The officers were screaming “fucking Mexicans” and “Mexican jag offs”

and “shut the fuck up.” (Duran Dep. at 55, 168, Pineda Dep. at 60). Officer DeCianni

kept saying “shut the fucking party” and “Mexican motherfuckers.” (Duran Dep. at 188).

       18.     The officers made these statements in front of the children who were

playing in front of the Duran home. (Pineda Dep. at 70). The officers were not speaking




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to any particular person. They were generalizing about everyone at the Duran home.

(Pineda Dep. at 65).

       19.     Alejandro Duran kept telling the officers to calm down. (Pineda Dep. at

84). Mr. Pineda told the officers to calm down and relax. He said,” We will take care of

everything.” (Pineda Dep. at 52, 56, 57). An officer responded, “You be quiet, stupid.”

(Pineda Dep. at 54).

       20.     At this point, the officers got even angrier. (Pineda Dep. at 60). The

officers started arguing with the people in the Duran home. (Barajas Dep. at 21; Pineda

Dep. at 52; Krummick Dep. 01 C 6858 at 23-24). The officers’ voices were loud.

(Gudino Dep. at 41).

       21.     People in the Duran back yard started coming to the front. (Pineda Dep. at

60). They were telling the police officers things like, “Stop it,” and “Don’t call me that.”

(Barajas Dep. at 7). Some people at the Duran home shouted, “Why were they taking

them to jail?” (Gudino Dep. at 11). They also shouted, “What are you guys doing?”

(Cruz Dep. 02- C6248 at 32-34). Women started screaming at the officers to “calm

down.” (Pineda Dep. at 60).

       22.     An officer walked across the street to Mr. Barajas and told him “Get inside

the house, Mexican jag off.” (Barajas Dep. at 11, 57). At this point, Mr. Barajas decided

to video-record what was happening in front of the Duran home. (Barajas Dep. at 10).

       23.     Mr. Gudino saw that the police officers and the people at the Duran home

were getting agitated, so, he got out his video camera and started to record from his

window. (Gudino Dep. at 11-12). Mr. Gudino had a large VHS camcorder. (Gudino

Dep. at 28).




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        24.      The officers hit people and they pushed people down. (Gudino Dep. at

16).

        25.      One of the officers grabbed a man by his clothing and tried to drag him

over the fence, into the street. (Barajas Dep. at 6). Another officer also grabbed that man

and tried to drag him over the fence. (Barajas Dep. at 21). The man the police were

dragging was not Gonzalo Duran. (Barajas Dep. at 25). An officer told people to “get

inside the house, or, he would get the dogs.” (Barajas Dep. at 16).

        26.      A few minutes later, more Cicero police officers arrived at the Duran

home. (Gudino Dep. at 41).

        27.      Sgt. Krummick was the supervisor on the scene. (Krummick Dep. at 47).

When he arrived, the police officers got ready to spray the people at the Duran home with

pepper spray. 1 (Pineda Dep. at 60-61). Sgt. Krummick said, “Are you ready, let’s go”

and then the police came and started spraying the people at the Duran home with pepper

spray. (Pineda Dep. at 61).

        28.      Mr. Pineda was the first person sprayed with pepper spray. The officer

that sprayed him was Officer DeCianni. (Pineda Dep. at 61, 134). Officer DeCianni

sprayed directly in Mr. Pineda’s face, three or four times, maybe more. (Id.).

        29.      Mr. Pineda’s wife and children, who were behind him, started crying.

(Pineda Dep. at 61). Mr. Pineda’s wife and children were sprayed. (Pineda Dep. at 61).

The officers sprayed children, adults, everyone. (Pineda Dep. at 86; Gudino Dep. at 14-

16).   They pushed pregnant women and threw the cake on the ground. (Pineda Dep. at




1
 The word “mace” is used in some of the depositions in a generic sense. The officers actually used pepper
spray. (See, e.g., Vitalo Dep. 02 C 6248 at 35).


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86-87). Mr. Gudino videotaped the officers spraying the people at the Duran home.

(Gudino Dep. at 18).

          30.   Officer DeCianni punched Mr. Pineda in the stomach three or four times

and sprayed him again with pepper spray. (Pineda Dep. at 93, 134). While he was

punching, Officer DeCianni said, “You motherfucker, I’m going to kill you right now.”

(Pineda Dep. at 93, 134). He threw Mr. Pineda down the front stairs to the Duran home

and sprayed Mr. Pineda again. (Pineda Dep. at 94-95).

          31.   Officer McMahon sprayed pepper spray into a group of 20-25 people. He

said they were pushing him against the fence in the front yard. (McMahon Dep. at 29-30;

37-39).

          32.   Mr. Gudino left his house and stood by the fence at the side of his house

to video-record the events at the Duran home. (Gudino Dep. at 10).

          33.   From his house across the street, Mr. Gudino heard the policemen saying

that they were “going to take two guys out.” (Gudino Dep. at 11).

          34.   The officers were just pushing people down. (Gudino Dep. at 11).

Women were screaming. (Harrison Dep. at 11).

          35.   Ms. Peralta and her guests heard people at the Duran home, across the

street from her home, screaming, as though someone was being hit. They also saw

policemen passing through her alley. She and her guests went outside and stood in front

of her home to see what was going on at the Duran home across the street. (Peralta Dep.

at 15, 29). Ms. Peralta’s home does not have a front yard and part of it abuts the front

sidewalk. (Peralta Affidavit).




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       36.     Ms. Peralta and her guests saw Cicero policemen with billy clubs and

spray cans in their hands. (Peralta Dep. at 12, 45). She and her guests saw the officers at

the Duran home hitting people with their billy clubs. (Peralta Dep. at 15). These officers

were beating on people. (Peralta Dep. at 44, 45). They were also spraying people.

(Peralta Dep. at 45). Children were screaming. (Peralta Dep. at 15).

       37.     From across the street, Ms. Peralta and her guests screamed at the officers

not to do that; they said the police officer were wrong in doing what they were doing.

(Peralta Dep. at 15).

       What Mr. Gudino saw in the Duran Back Yard

       38.     With all of the police cars in front of the Duran home, Mr. Gudino could

not see clearly from across the street, at his home. Mr. Gudino crossed the street to

video-record from the home of the Duran’s next-door neighbor, the neighbor to the south

of the Duran home, near the gangway to the backyard of the Duran home. He stood on a

little stairway to the next-door neighbor’s property, behind a pillar. (Duran Dep. at 18,

48). Mr. Gudino could see everything. (Gudino Dep. at 15).

       39.     Officer DeCianni pointed at Gonzalo Duran and told Sgt. Krummick that

Gonzalo Duran threw a beer can at him, and that he wanted to arrest him. (Krummick

Dep. 01 C 6856 at 26-28). According to Officer DeCianni, this beer can hit the sidewalk

and burst, and then it bounced from the sidewalk, hitting Officer DeCianni’s leg.

(DeCianni Dep. 01 C 6858 at 35-38).

       40.     Officer Kirby testified that Sgt. Krummick spoke with the person who

“threw the beer bottle or can at Officer DeCianni.” (Kirby Dep. at 21). According to

Officer Kirby, Sgt. Krummick approached Gonzalo Duran and said, “Fella, can I speak




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with you?” (Kirby Dep. at 23). In response, Gonzalo Duran went into the backyard of

the Duran home, in a “controlled jog” via the gangway next to the Duran home. (Kirby

Dep. at 23).

       41.     Sgt. Krummick followed Gonzalo Duran through the gangway. (Kirby

Dep. at 24). Officers DeCianni, Vitalo and McMahon followed Sgt. Krummick into the

gangway. (Lewandowski Dep. at 36, Vitalo Dep. 02 C 6248 at 20). Officer Gross called

for backup. (McMahon Dep. at 28).

       42.     One of the officers who went through the gangway pushed a woman down

with her baby. (Gudino Dep. at 14). Police officers also pushed two men and three

ladies down in the gangway. (Gudino Dep. at 16-17).

       43.     Mr. Gudino went into the back yard of the Duran’s next-door neighbor

and continued videotaping. (Gudino Dep. at 58-60). Mr. Gudino saw tables flying in the

Duran back yard; the policemen were pushing anything down that was in their way.

(Gudino Dep. at 16-17). The police were destroying everything. (Duran Dep. at 40).

Women and children were screaming and crying. (Duran Dep. at 57, 91; Krummick Dep.

02 C 6248 at 40).

       44.     A Cicero police officer emptied a whole can of pepper spray into Gonzalo

Duran’s face. (Duran Dep. at 100). Officer Vitalo then tackled Gonzalo Duran. (Vitalo

Dep. 02 C 6248 at 23-24). Mr. Duran fell to the ground. (Duran Dep. at 93-94). Officer

Vitalo admitted hitting Mr. Duran with his fists. (Vitalo Dep. 01 C 6858 at 60). Officer

Vitalo admitted hitting Mr. Duran with his asp. (Vitalo Dep. 01 C 6858 at 60-61; Duran

Dep. at 103-104). Officer Vitalo used his asp well-after he tackled Gonzalo Duran.

(Vitalo Dep. 02 C 6248 at 36).




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       45.     Officer DeCianni had his arm around Gonzalo Duran’s neck; he was

tightening his hold and choking Mr. Duran. (Duran Dep. at 94, 99). Gonzalo thought the

officer was trying to kill him, so, he bit Officer DeCianni’s arm. (Duran Dep. at 99, 100).

Mr. Duran could not resist the officers; there were too many policemen. (Duran Dep. at

95, 102).

       46.      Detective Sirgedas handcuffed Gonzalo Duran. (Vitalo Dep. 02 C 6248

at 30). Officers Vitalo and DeCianni escorted Gonzalo Duran out of the Duran backyard

once he was securely handcuffed. (Krummick Dep. 02 C 6248 at 45).

       47.     More police officers pulled up. (Kratchovil Dep. at 18). Police officers

from other municipalities, including the City of Chicago, arrived. (Vitalo Dep. 02 C

6248 at 69).

       What the Cicero Police Officers Did Inside the Duran Home

       48.     After being sprayed with pepper spray, Mr. Pineda went into the basement

of the Duran home to get water to cool his burning eyes. (Pineda Dep. at 95). He then

went to the second floor of the Duran home. (Pineda Dep. at 98). While Mr. Pineda was

on the second floor, Cicero police officers broke down the front door to the Duran home.

(Gudino Dep. at 12-13, Pineda Dep. at 102). Several officers went into the Duran home.

(Barajas Dep. at 9, 11).

       49.     The officers came up to the second floor of the Duran home with their

guns out in their hands. (Pineda Dep. at 124). Then, they started arresting people who

were in the Duran home. (Pineda Dep. at 106).

       50.     After the officers went inside the house, Mr. Barajas could not see the

officers, but, he heard women screaming. He heard something that sounded like the




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officers were breaking glass and chairs. (Barajas Dep. at 47-48, 58). Officer McMahon

broke the front window to the Duran home when he struggled with Armando Duran.

(McMahon Dep. at 50, 55).

       51.     After Gonzalo Duran was placed in a squadrol, Officer DeCianni went

through the gangway to the front of the Duran home. (DeCianni Dep. 02 C 6248 at 31).

       The Aftermath

       52.     As Officer Harrison approached the Duran home, he heard the sound of

women screaming coming from the rear of the Duran home. (Harrison Dep. at 11). A

few male Cicero police officers and some women were coming out of the gangway,

waving air at their faces to relieve the burning from pepper spray. (Harrison Dep. at 11-

12).

       53.     When he arrived that the Duran home, Officer Kratchovil saw some

Cicero officers telling people that they had to leave the house. (Kratchovil Dep. at 18).

Officer Kratchovil went through the gangway into the Duran backyard and into the alley.

(Kratchovil Dep. at 20). In the gangway, Officer Kratchovil smelled pepper spray.

(Kratchovil Dep. at 21).

       54.     Some of the women and children at the Duran home needed medical

attention because they had been sprayed with pepper spray. (Krummick Dep. 02 C 6248

at 40-41, Cruz Dep. 02 C 6248 at 46). A little elderly woman complained to Officer Cruz

that she had chest pains. (Cruz Dep. 02 C 6248 at 47). Officer Jimenez complained to

Officer Cruz that he could not breathe because of the pepper spray. (Cruz Dep. 02 C

6248 at 71-72 ).




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       55.     Officer Harrison took people to ambulances on the North and South

corners of 51st Streets (13th and 14th Street corners) for medical treatment. (Harrison

Dep. at 13). He accompanied three police officers, two women, and another woman, who

had a young child. (Harrison Dep. at 17). To Officer Harrison, it appeared that the

officers and the women had been sprayed with pepper spray. (Harrison Dep. at 18).

People were being carried away from the Duran home in stretchers. (Gudino Dep. at 25).

A lot of people were crying. (Id.).

       56.     Mr. Gudino did not see any of the Duran guests fighting or interfering

with the police. (Gudino Dep. at 16). He did not see anyone throw anything at an

officer. (Gudino Dep. at 18).

       57.     Officer Gross and another officer arrested Heriberto Uribe, Sebastian

Rivera and Juan Rivera because they would not leave the front area of the Duran home.

(Gross Dep. at 51-52). These three gentlemen were on private property at the time.

(Gross Dep. at 49-50).

       Mr. Gudino’s Experiences with the Cicero Police

       58.     After video-recording what the Cicero police officers were doing, Mr.

Gudino started to move away from the next-door neighbor’s backyard. (Gudino Dep. at

19). Mr. Gudino ran in the direction away from the Duran home, down the street.

(Gudino Dep. at 26). Two Cicero police officers chased Mr. Gudino down and caught up

with him in front of the second house down the street from the Duran home. (Gudino

Dep. at 19, 26).

       59.     The two officers told Mr. Gudino that his camera was confiscated.

(Gudino Dep. at 19). The officers were very angry. (Gudino Dep. at 27). Mr. Gudino




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asked him why, it was Mr. Gudino’s camera. (Gudino Dep. at 19). One officer said

“That is none of your business, either you give me the camera, or we’re going to take it

from you.” (Gudino Dep. at 19).

       60.     The fat officer punched Mr. Gudino in the stomach. (Gudino Dep. at 19-

20). Then, the other officer started to hit Mr. Gudino, but, Mr. Gudino used his camera to

block the blows from the officer. (Gudino Dep. at 20). Both officers grabbed Mr.

Gudino’s hands. (Gudino Dep. at 20). Officer DeCianni took Mr. Gudino’s camera.

(Gudino Dep. at 25-26). Mr. Gudino pulled free of the police officers and ran away.

(Gudino Dep. at 20).

       61.     The two officers that punched Mr. Gudino were DeCianni and Cruz.

(Gudino Dep. at 21; Gudino Affidavit).

       62.     A few days later, Mr. Gudino went to the Cicero Police Department and

reported that an officer had taken his video camera. (Gudino Dep. at 75). No one asked

Mr. Gudino to identify the officer that took his video camera. (Gudino Dep. at 75-76).

       63.     After the incident on September 2, 2000, Mr. Gudino was stopped by the

Cicero police four or five times. (Gudino Dep. at 30). He never received a traffic ticket.

(Gudino Dep. at 28). Due to this incident, Mr. Gudino has become very afraid of police

officers. (Gudino Dep. at 32-33).

       Ms. Peralta’s Experiences with the Cicero Police Department

       64.     When Ms. Peralta was standing in front of her home with a group of her

guests (the “Peralta Group”), two Cicero police officers came across the street to Ms.

Peralta’s property. One of these officers was Sgt. Krummick. (Krummick Dep. 01 C

6858 at 43; Peralta Dep. at 29-31, 34). According to Sgt. Krummick, Ms. Peralta and her




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guests were not doing anything wrong or interfering with the police. (Krummick Dep. 02

C 6248 at 56, 58).

       65.     The officers would not let anybody see what was happening at the Duran

home. (Peralta Dep. at 40). They told the Peralta group to go inside; they said “not to be

watching” what was going on across the street at the Duran home. (Peralta Dep. at 12).

These officers said that they would arrest the Peralta Group or bring dogs, if they did not

go inside. (Peralta Dep. at 12). The officers also swore in English at the Peralta group.

(Peralta Dep. at 38). Before or after each vulgarity directed to the Peralta Group Sergeant

Krummick used the word Mexican. (Peralta affidavit).

       66.     One of the two officers shoved the Peralta group against the brick wall of

the Ms. Peralta’s house. (Peralta Dep. at 16, 17-18, Peralta affidavit). The officer said

some vulgar things in English when he was pushing. (Peralta Dep. at 17-18). When he

shoved the Peralta group, that officer pushed someone into Ms. Peralta, knocking her into

a protruding nail on the brick wall of her home. (Peralta Dep. at 46, 16, 17-18; 1st Am.

Compl. par. 27, Peralta affidavit).

       67.     While Sgt. Krummick was in the street when the other officer pushed the

mass of people. Sgt. Krummick was close enough to the group of people to prevent the

other officer from pushing and injuring Ms. Peralta and her guests. (Peralta Affidavit).

       68.     Ms. Peralta felt the impact and she rubbed her back to see what was

happening. Blood was on her hand. (Peralta Dep. at 17). As a result, Ms. Peralta has a

4-inch, horizontal scar on her back in the shoulder area. (Peralta Dep. at 14). Due to this

incident, Ms. Peralta has become very frightened of policemen. (Peralta Dep. at 40).




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          69.    Ms. Peralta never saw anyone at the Duran home throw anything at an

officer. She did not see anyone at the Duran home punch or hit an officer. (Peralta Dep.

at 46).

          The following materials are attached hereto:

          (a)    Duran Deposition

          (b)    Cruz Deposition 02 C 6248

          (c)    Cruz Deposition 01 C 6858

          (d)    Pineda Deposition

          (e)    Gudino Deposition

          (f)    Peralta Deposition

          (g)    Krummick Deposition 02 C 6248

          (h)    Krummick Deposition 01 C 6858

          (i)    Barajas Deposition

          (j)    McMahon Deposition

          (k)    DeCianni Deposition 01 C 6858

          (l)    DeCianni Deposition 02 C 6248

          (m)    Cruz Deposition 02 C 6248

          (n)    Cruz Deposition 01 C 6858

          (o)    Gross Deposition

          (p)     Kirby Deposition

          (q)    Vitalo Deposition 02 C 6248

          (r)    Vitalo Deposition 01 C 6858

          (s)    Kratchovil Deposition




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      (t)    Harrison Deposition

      (u)    Gudino Affidavit

      (v)    Peralta Affidavit

                                      Respectfully Submitted,

DATED: October 31, 2005               Eduardo Gudino and Obdulia Peralta,



                                             /s/    Peter V. Bustamante




Peter V. Bustamante
150 North Michigan Avenue
Suite 690
Chicago, Illinois 60601
(312) 346-2072




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                            CERTIFICATE OF SERVICE

       The undersigned, an attorney, hereby certifies that he caused true and accurate
copies of the Plaintiff’s Rule 56.1(b)(3) Statement, to be served on the following
counsel of record by email and by uploading the same onto the CM/ECF system on
October 31, 2005:

Barry A. Spevack
Monico Pavich & Spevack
20 South Clark Street - Suite 700
Chicago, Illinois 60603

Nicholas Geanopoulos
The Vrdolyak Law Group, LLC
741 North Dearborn Street
Chicago, Illinois 60610

Steven J. Seidman
Law Office of Steven J. Seidman
20 South Clark Street - Suite 700
Chicago, Illinois 60603

David A. Cerda
Cerda & Associates
333 West Wacker Drive - Suite 510
Chicago, Illinois 60606


                                             /s/    Peter V. Bustamante




Peter V. Bustamante
150 North Michigan Avenue
Suite 690
Chicago, Illinois 60601
(312) 346-2072




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